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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                   8:10CR91
                                             )
             v.                              )
                                             )
ALBERTO HEREDIA-CASTRO,                      )                    ORDER
                                             )
                    Defendant.               )
                                             )


      Before the court is the Findings and Recommendation and Order of United States

Magistrate Judge F.A. Gossett, Filing No. 68. No objection has been filed to the Findings

and Recommendation. Pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1), the court

has conducted a de novo review of the record and adopts the Findings and

Recommendation in its entirety.

      THEREFORE, IT IS HEREBY ORDERED that:

      1.     The Findings and Recommendation, Filing No. 68, is adopted in its entirety.

      2.     The defendant’s motion to suppress, Filing No. 44, is denied.

      DATED this 25th day of August, 2010.


                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            Chief United States District Judge
